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IN THE UNITED STATES DISTRICT COURT 05 AU
FOR THE WESTERN DlSTRICT OF TENNESSEE
EASTERN DIVISION AT JACKSON

 

lLoRt sTEPHENs ‘f
v. \ No.; 05-Cv-01122-JDT_sTA

WAL-MART sToREs EAsT,\L. P_

 

MOTION TO\CONTINUE SCHEDULING CONFERENCE
l

COMES NOW, the Plainti f, and moves this Honorable Court for an order allowing the
continuance of the scheduling con' renee set for August 30, 2005 at 10:00 a.m. As grounds, the

Plaintift` would state that both partie have entered negotiations to settle this case. In addition,

the Defendant is in agreement with th s m otion. Plaintit`f requests a continuance of two weeks

tx Respectfully submitted,

B¢Fny R. Enils', B‘iYR# 020747
ttorney for the Plaintiff
N. Highland Ave.

  
   
 

Jackson, TN 3830 -
731-988-9900

t |
l

l‘t’lOTlO GRANTED
DATE:

 
   

S. Thomas Anderson
U.S. Maglstraw Judge

 

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with Ru|e 58 andlor?S (a) FRCP on _B.{.M_ Page l of 2

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CERTIFICATE OF SERVICE

l hereby certify that a copy of the foregoing pleading has been mailed via U.S. Mail, postage

prepaid, to Clinton J. Simpson, Attornc_v t`or D fendaxé)t, 165 Madison Avenue, Suite 2000,
Memphis, TN 33103, this the a 945/day Of il ,2005.

BMNY R. ELQ§

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
ease 1:05-CV-01122 was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Danny R. Ellis

MUELLER & ELLIS, PLC
1289 N. Highland Ave.
P.O. Box 3512

Jael<son, TN 38303--351

Clinton .l. Simpson

BAKER DONELSON BEARMAN & CALDWELL
20th Floor

165 Madison Avenue

l\/lemphis7 TN 38103

Honorable .l ames Todd
US DISTRICT COURT

